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               EXPERT REPORT OF NICHOLAS P. JEWELL, Ph.D.



                              Executive Summary of Report
               1.        Backonja et al.1 report on the clinical efficacy of gabapentin on

subjective pain scores as compared to placebo, based on a randomized controlled clinical

trial of patients with diabetes mellitus suffering from painful diabetic neuropathy. These

authors consider a potential bias in their results due to the significantly higher incidence

of side effects among subjects exposed to gabapentin that might “unblind” an individual’s
treatment assignment, thereby distorting their subsequent pain reports. However, the

authors did not find evidence of such a bias in a very simplistic analysis of two side

effects analyzed separately. I have reanalyzed their data more thoroughly. The summary

of my findings is that almost the entire apparent treatment effect reported in Backonja et

al.1 disappears when data after the occurrence of treatment-related Central Nervous

System (CNS) side effects is eliminated. I conclude that the trial provides no basis of any

clinical efficacy for gabapentin over placebo in reducing pain in this population.


                                       Qualifications
               2.        For the past 27 years, I have been a Professor in the Division of
Biostatistics, School of Public Health, and in the Department of Statistics, both at the

University of California, Berkeley. Specifically, I have served as a Full Professor (1987 –

present); Associate Professor (1982 – 1987); and Assistant Professor (1981 – 1983).

Prior to that, I was an Assistant Professor in the Department of Statistics at Princeton

University, Princeton, New Jersey (1979 – 1981) where I also served as Director of the
Statistical Laboratories. At Berkeley, I also held the position of Chair of the University


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         “Gabapentin for the symptomatic treatment of painful neuropathy in patients
with diabetes mellitus. A Randomized Controlled Trial,” Backonja, M., Beydoun, A.,
Edwards, K. R. et al., JAMA, 1998, 280, 1831-1836.


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of California Graduate Group in Biostatistics from 1986 – 1994, and from 2000 – 2007.

From 1994 to 2000, I served as Vice Provost at the University of California, Berkeley, in

the Office of the Chancellor. Since September 2007, I have been serving as Vice Provost,

Academic Personnel, at the Office of the President of the University of California. A true

copy of my CV is attached as Exhibit A.

               3.        I have served as a member of the National Academy of Sciences

Committee on National Statistics (1993 – 1996), and of the Committee on Theoretical

and Applied Statistics (1994 – 1996). I received my Ph.D. in Mathematics from the

University of Edinburgh, Scotland in June 1976, and was a post-doctoral Harkness

Fellow at Stanford University and the University of California at Berkeley from 1976 to

1978. In 1978-79 I was a Research Fellow in the Medical Statistics Unit at the University

of Edinburgh, Scotland. I also held a Visiting Professor appointment at Oxford

University, England, in Spring 1990, and at the London School of Hygiene and Tropical

Medicine in Spring 2007. During April – May 2007, I was a resident Fellow of the

Rockefeller Foundation at their Study Center in Bellagio, Italy.

               4.        I am the author of a textbook, Statistics for Epidemiology,

(Chapman and Hall, New York 2003), as well as approximately 120 peer-reviewed

articles in the field of biostatistics. My fields of expertise include the analysis and

interpretation of survival data and other statistical methods to investigate risk factors for

disease outcomes, and longitudinal data analysis. I am a founding editor of the

International Journal of Biostatistics, Senior Editor for the journal Statistical

Applications in Genetics and Molecular Biology, and Associate Editor for the journal

Biometrika. In 2005, I received the Snedecor Award, from the Committee of Presidents

of the Statistical Societies, awarded to “an individual who was instrumental in the

development of statistical theory in biometry.” The award is associated with the best

publication in biostatistics in the world in the previous 3 years. I also received a

Distinguished Teaching Award from the School of Public Health, University of




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California at Berkeley, in 2004.

                 5.      I am or have been a member of several international statistical

societies including the International Biometric Society, the Institute of Mathematical

Statistics, and the American Statistical Association. I was made a Fellow of the American

Statistical Association in 1991, and a Fellow of the Institute of Mathematical Statistics in

1996. I served as President of the Western North American Region of the International

Biometric Society in 1991 – 92, and as Treasurer of the Institute of Mathematical

Statistics from 1985 – 1988. In 2007, I was made a Fellow of the American Association

for the Advancement of Science (AAAS).

                 6.      In the past 5 years, I have testified at deposition in a Blood

Products case, a case concerning the malfunctioning of medical devices, and twice on a

case involving the adverse cardiovascular effects of celebrex. To the best of my

knowledge, the relevant cases numbers are as follows:

       In re: Factor VIII or IX Concentrate Blood Products Litigation, MDL NO. 986,
       N.D. Ill. Case No. 1:93CV7452

       In re: Guidant Implantable Defibrillators Products Liability Litigation, MDL No.
       1708, D. Minn. Case Nos. 05-1708, 06-00025 and 05-02596


       In re: Bextra and Celebrex Marketing Sales Practices, and Product Liability
       Litigation, MDL NO. 1699, N.D. Cal. Case No. M:05-CV-01699 CRB

     My consulting rate for this project is $350 per hour. I have relied on the documents

referenced in this report, and upon my experience in the field of biostatistics, in preparing

this document.



      Gabapentin for Treatment of Painful Neuropathy in Patients with Diabetes

                 7.      I have been asked to provide an analysis of data underlying the
paper by Backonja et al.1 on the effects of gabapentin on pain severity in a sample of

patients randomized to treatment with either gabapentin or placebo. I was supplied with



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the original data in electronic form, including daily pain reports for each subject during a

short screening period, and then during the eight-week trial. Subjects were randomized to

receive either gabapentin or placebo, and the randomization indicator was also provided

in the data sources. Patients were recruited from 20 clinical sites. The randomization was

carried out in a double-blind fashion. The primary efficacy outcome was a pain severity

rating, recorded by each patient in daily diaries using an 11-point Likert scale ranging

from 0 (“no pain”) to 10 (“worst possible pain”). The study, including dosing procedures,

is described in further detail in Backonja et al1. The data provided information on 81

placebo subjects and 84 patients receiving gabapentin, as reported in Backonja et al.1

       The double blinding of subjects is potentially compromised by several factors,

one being the occurrence of side effects known to be related to the study medication,

gabapentin. This is of particular concern given that the primary outcome is only measured

subjectively. Backonja et al.1 raise this issue directly in stating “Because the study end

point of pain was subjective, we explored the possibility that the occurrence of adverse

events resulted in the "unblinding" of the study, biasing the results of our efficacy

analysis.” I confirm that this form of “unblinding” is well known, to be expected in pain

studies, and has been studied extensively.2 The authors noted that “Dizziness and

somnolence, the 2 most frequent adverse events, were also those with the largest

difference in incidence between the gabapentin and placebo groups,” considerably raising

the possibility of bias. After an ad hoc approach that involved ignoring all data from

those patients who experienced a single adverse effect (such as dizziness), the authors

concluded “inclusion of patients who experienced these central nervous systems adverse

effects in the original analysis did not account for the overall efficacy seen in the trial.”

       I was asked to review the assessment and estimates of treatment efficacy, paying

particular attention to whether such results were influenced, or biased, by the occurrence

       2
       “Blinding effectiveness and association of pretreatment expectations with pain
improvement in a double-blind randomized controlled trial,” Turner, J. A., Jensen, M. P.,
Warms, C. A. et al., Pain, 2002, 99, 91-99.


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of side effects considered associated with the study medication.



        Basic Analysis of Pain Outcome Data Ignoring Occurrence of Side Effects

                8.       I first fit a simple longitudinal regression model using the data on

pain scores for each day to understand the trajectory of pain assessments over time, and

how changes differ for patients in the two treatment groups. This is the most direct way

to approach the data, avoiding compressing information on the pain outcome into weekly

averages, and, in particular, into an endpoint measured “as the mean score for the last 7

diary entries.” The specific regression model assumes that the mean pain score varies

linearly over time. Estimates of the regression coefficients were obtained using the

standard generalized estimating equation (GEE) approach for linear regression, thereby

allowing for correlation amongst repeated pain scores on the same individual3. The

software used was Stata 9.24.

                9.       The simplest regression model used assumed a linear relationship

of the average pain score over time, common to all patients, but allowing a different

intercept and slope for the two treatment groups. At this point, all follow-up pain data is

being exploited, ignoring information on side effects that might “unblind” treatment

assignment. For the placebo group, the estimated intercept (interpretable as the mean pain

score at day 0 as the study began) was 6.11 with an estimated subsequent daily decline of

0.027 per day (or, equivalently, 1.52 over 56 days). This presumably represents some

placebo effect or simply systematic improvement in patients’ conditions after

recruitment. On the other hand, the estimated intercept for the active treatment group is

5.61 with an estimated daily decline of 0.045 per day (or, equivalently, 2.52 over 56

days). The rate of decline is significantly greater for the active treatment group (p =

0.005). It is somewhat surprising that the intercepts are also significantly different but the

       3
         Analysis of Longitudinal Data, Diggle, P., Heagerty, P., Liang, K-Y., Zeger, S.,
2nd Edition, 2002, Oxford University Press.
       4
           Stata/SE for Macintosh, Stata Corporation, College Station, Texas.


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p-value of 0.045 is borderline.

                10.       These calculations used the screening measurements of pain

before treatment began. Removing these observations and using only pain scores from

day zero yields very similar results. The estimated intercepts and slope for the placebo

group are now 6.01 and -0.025 per day (a decline of 1.38 over 56 days). For the active

treatment group, the analogous estimates are 5.29 and -0.037 per day (a decline of 2.06

over 56 days). Now the slopes are not significantly different (p = 0.069) although the

intercepts appear slightly more different (p = 0.016).

                11.       The above analysis has assumed that subjects recruited at

different clinical sites report similar pain scores. To allow for the possibility that patients

from different sites experience different levels of pain, we introduced site as a covariate

exactly as specified in the Backonja et al.1 analysis. Adjusting for clinical site in this way

allows the regression line, describing changes in mean pain scores over time, to have a

different intercept for each site, but assumes that the rate of decline in pain scores is the

same for all sites for both the placebo and active treatment groups. The adjustment for

site changes the estimated rate of decline for the two groups only slightly to 0.024 per

day (a decline of 1.34 over 56 days) for placebo patients, and 0.037 per day (a decline of

2.10 over 50 days) for the active treatment group. Comparison of these rates of decline

yields a p-value of 0.050. As noted, in this analysis, the intercepts are allowed to vary

from site to site, but overall the average differences in intercepts between placebo and

active treatment groups (for a given site) is estimated to be 0.61 lower in the gabapentin

group, remaining just statistically significant (p = 0.032).

                12.       In summary, there is marginal evidence for both an immediate

drop in pain scores in the treatment group followed by a slightly greater decline in pain

over the course of treatment. Adding the differences after an eight week (56 days) follow-

up period produces an estimated average pain score drop of around 1.4 more on active

treatment than on placebo.




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                            Adjustment for Baseline Pain Scores
               13.       Backonja et al.1 also used the screening mean pain score,

measured over a brief period prior to commencement of treatment as an additional

covariate. Due to randomization there should be no difference in the screening mean

main score across the two treatment groups (and this is supported by the data), and so

inclusion of this covariate should not alter the previous estimates discussed above.

Nevertheless, there is some possibility of additional precision since it is likely that the

screening mean pain score is closely correlated with subsequent pain score measurements

(again confirmed by the data). To follow Backonja et al.1 therefore, we extended the

above analysis to control for where a patient “starts” in terms of their screening mean

pain score. Holding site fixed as before, the above estimates change as follows: the rate

of decline for placebo patients is now 0.027 per day (a decline of 1.49 over 56 days), and

0.037 per day (a decline of 2.06 over 56 days) for the active treatment group. These rates

of decline differences have an associated p-value of 0.14, no longer statistically

significant. Overall the average differences in intercepts between placebo and active

treatment groups (for a given site) is estimated to be 0.59 lower in the gabapentin group,

remaining statistically significantly different from zero (p = 0.006). As noted, there is a

very strong association between pain scores after treatment and the screening mean pain
score, and this relationship is similar for the two treatment groups. These results are not
changed dramatically by including (non-significant) interaction terms that allow the rates

of decline to depend on the average pain score at screening.

                                  Summary of Basic Analysis

               14.       There is evidence for both an immediate drop in pain scores in

the treatment group followed by a slightly greater decline in pain over the course of

treatment. Adding these two effects produces an estimated average pain score drop of

around 1.2 more on active treatment than on placebo, after an eight-week (56 days)

follow-up period. As these estimates control for the effects of site and screening mean


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pain score, this analysis closely corresponds with that of Backonja et al.1 who report an

overall increased drop of 1.2 in the gabapentin group as compared to the placebo

subjects. These authors provide an associated overall p-value less than 0.001 for this

comparison. In my analysis, the equivalent p-value is also less than 0.001. Thus, to this

point, my analysis agrees closely with Backonja et al.1

       I now turn to consideration of the effects of the occurrence of adverse side effects

that are considered related to treatment and that therefore have the potential to “unblind”

treatment assignment and subsequently bias the results.


               Stopping Analysis at Onset of Treatment-Related Side Effects
               15.       To address the issue surrounding the occurrence of side effects I

examined the data to determine the first day on which a treatment-related side effect

occurred. To judge “relatedness”, I used a variable denoted “aerel” and considered the

side effect related to study medication if aerel was assigned a value in the range 3—5

(indicating that the side effect was possibly, probably, or definitely related to the study

medication). Finally, I used only the first Central Nervous System (CNS) side effect as

defined by a list in Appendix C.36 of the 945-210 research report, or a synonym of any

condition found there (for example, sleepiness included with somnolence). For the

placebo group, 12 individuals experienced such a related side effect during their period of
follow-up; on the other hand, 44 members of the gabapentin group had such side effects
in the follow-up period. These numbers reflect what Backonja et al.1 indicated regarding

the higher incidence of treatment related side effects in the gabapentin treated subjects.

For the 12 members of the placebo group who experience treatment related side effects as

described, the average day of onset is 12.1 days with a standard deviation of 8.6 days; for

the 44 analogous subjects in the gabapentin group, the average day of onset is 11.0 days

with a standard deviation of 9.2 days.

       In the placebo group, the nature of these observed “first” related side effects is

distributed across an entire range from dizziness to tiredness, with somnolence (plus its


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synonyms) experienced by seven subjects. Another three subjects suffered from dizziness

(including synonyms). For the gabapentin group, there is again a wide variety of first side

effects experienced from ataxia to vertigo. In this group eighteen subjects suffered

dizziness (including synonyms) as the first treatment related side effect, thirteen

somnolence (including synonyms), and four confusion. No other included first side effect

was experienced by more than one subject in either group.

         To assess the possible impact of these treatment related side effects “unblinding”

treatment assignment and subsequently biasing the subjective measurement of pain, I

removed all data following the first occurrence of a treatment related CNS side effect as

defined above. This is a less radical approach than in Backonja et al.1 who removed the

entire record for subjects who reported such side effects, albeit only for two major side

effects and only one side effect at a time.

         There is a possibility that the results of paragraphs 9-11 (and the conclusion of

paragraph 12) will be modified if we only use the data up to and including the first day of

onset of a side effect related to treatment, but no pain scores thereafter. In particular, I

would anticipate a slight increase in variability due to using less data. However, our

primary interest is to see if the estimates of treatment effects themselves are

fundamentally changed, since this would likely be due to bias in pain measurements after

the occurrence of these side effects. The following paragraphs therefore focus on this

issue.

         16.              Repeating the most general analysis (without adjusting for

average pain at baseline) reveals a somewhat different picture from the results in

Paragraph 11. Now (adjusting for site), the estimated rate of decline is 0.025 per day (a

decline of 1.38 over 56 days) for placebo patients, with essentially the same effect for the

active treatment group with an estimated decline of 0.020 per day (a decline of 1.12 over

56 days). Note that the rate of decline is actually slightly slower in the active treatment

group: the comparison of the rates of decline between placebo and active treatment is




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now entirely insignificant (p = 0.49), indicating no apparent treatment difference. Thus,

the apparent difference in the rates of decline between the two groups is completely

explained by pain scores that occur after treatment-related side effects have occurred.

       On the other hand, in this analysis, the overall average difference in intercepts

between placebo and active treatment groups (for a given site) is 0.67 (with the smaller

pain scores in the treatment group), basically unchanged from what I reported in

paragraph 11, a difference that remains just statistically significant (p = 0.02).

               17.       Continuing in this way, we now repeat the analysis that adjusted

for the average screening pain score described in paragraph 13. Holding site fixed, the

estimates change as follows: the estimated rate of decline for placebo patients is 0.029

per day (a decline of 1.60 over 56 days), and 0.021 per day (a decline of 1.18 over 56

days) for the active treatment group, again more decline observed with placebo than

under active treatment. These rates of decline differences are again essentially equivalent

with an associated p-value of 0.42. Overall the estimate average difference in intercepts

between placebo and active treatment groups (for a given site) is 0.57 (lower average

pain scores under active treatment), again just statistically significant (p = 0.013).

               18.       Adding the two treatment effects, described in paragraph 17,

produces an estimated average pain score drop of just 0.15 more on active treatment than

on placebo, after an eight-week (56 days) follow-up period. The smaller number reflects

the now increased decline under placebo that essentially offsets the initial overall

difference due to treatment. Effectively there is no difference between pain scores under

placebo and those under gabapentin after eight weeks of treatment.

               19.       Illustrating the data for a single patient powerfully displays the

bias that can be introduced by including data after an adverse side effect first appears,

possibly alerting the patient that they may be on active treatment. Figure 1 below graphs

the pain score data by day for subject #4017 who was randomized to the gabapentin

group, and first reported the side effect of somnolence on day 11 of treatment.




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          8
          6
      pain score
          2
          04




                   0                20                      40                     60
                                                 day

                                      pain                       predpain
                                      earlypredpain



Figure 1. Plot of Pain Scores by Day for Subject #4017, with Regression Lines Using
(i) All Data (long red line), and (ii) Only Data for Days up to and Including the Day
of the First Observation of a Treatment Related Side Effect, namely Day 11 (short
black line).

         Note that, for this individual, pain scores were generally increasing over the first

11 days of treatment. Within a few days of the first noted occurrence of a treatment

related side effect, the subjective pain scores systematically decline. The long red line in

Figure 1 models the change in mean pain scores over time over the entire period, and

suggests a systematic decline in pain over time. However, the analysis restricted to the

first 11 days--before the possible “unblinding” of treatment assignment--paints a very

different picture.

         Of course, Figure 1 displays the results for only a single subject whose side effect

occurs within the second week of treatment; however, the analyses described in

paragraphs 16—17 effectively “average” these estimated regression lines over all

patients, if and when treatment-related side effects occur, allowing for a different


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intercept from subject to subject depending on their mean screening pain score and their

clinical site. The latter analysis shows that the phenomenon displayed in Figure 1 is not

unusual but systematic over the sample.

               20.     Finally, we present further graphic evidence and analyses

supporting the results previously described. Specifically, we display estimates of weekly

mean pain scores in both the gabapentin and placebo groups, before and after adjusting

for the occurrence of potentially “unblinding” CNS side effects. Specifically, Figure 2(A)

below mimics Figure 2(A) in Backonja et al.1 (p. 1834). However, Figure 2(B) shows far

less difference between the gabapentin and placebo groups after accounting for the

possibility of “unblinding” due to the occurrence of CNS treatment related side effects. In

Figure 2(A), a simple comparison of the weekly means between the placebo and

gabapentin groups is statistically significant (p-value < 0.05) from week 2 through week

8 inclusively, as described in Backonja et al.1 However, in Figure 2(B), the means are

only statistically significant in weeks 2 and 3, and never thereafter. In particular, at week

8, the p-value for the comparison of mean pain scores between the gabapentin and

placebo groups is 0.41, suggesting no difference between the two groups. When this

comparison is adjusted for site and screening mean pain, the p-value for treatment

efficacy is 0.81, with an estimated drop in mean pain score due to treatment of -0.09 with

an associated 95% confidence interval of (-0.84, +0.65). This is the analysis that most

closely corresponds to that reported in Backonja et al.,1 and indicates that it is just as

likely that placebo reduces the pain score at the end of eight weeks as gabapentin. The

small estimated difference--as shown, for example, in Figure 2(B) at week 8, before

adjustment for covariates--is likely due to bias as previously discussed.




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(A)
        7




        6




        5
      Pain




        4




        3

             0          2               4                6                8
                                       week

(B)
        7




        6




        5
      Pain




        4




        3

             0          2               4                6                8
                                       week



Figure 2. Weekly estimated mean pain scores by treatment group (placebo: upper
dots; gabapentin: lower dots) with one standard error bars. (A) Using all data; (B)
Removing data after occurrence of CNS treatment-related side effect.



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                                         Conclusion
                20.        Approximately 90% of the apparent total improvement in

average pain scores under active treatment reported by Backonja et al.1 is explained by

events after the onset of adverse side effects that have the potential to “unblind” treatment

assignment, and are therefore subject to bias. The estimated remaining difference

between placebo and gabapentin, of 0.15 (as described in paragraph 18) or 0.09 (as

described in paragraph 20), is small and difficult to interpret since it is based on an effect

that is “present” at the very onset of treatment and not improved by further treatment (in

fact, worsened). In the absence of any difference in decline once treatment has begun, it

is hard to accept that this is due to a true effect of treatment, and it may be better

understood as the impact of some form of additional unanticipated bias. For example,

given the considerable and demonstrated impact of observed treatment related side

effects, presumably due to “unblinding,” there is a similar potential for further bias

caused by more subtle—unreported—experience of side effects and other factors

associated with treatment, that may also have contributed to “unblinding” thereby

exhibiting the small treatment-placebo “difference”. Given that a simple adjustment of

the data to allow for reported CNS side effects, related to treatment, eradicates almost all
treatment effect, it is not unlikely that the small remaining difference could be explained

by small differences in unreported side effects that also might “unblind” treatment

assignment. My findings entirely contradict the claim by Backonja et al.1 that “inclusion

of patients who experienced these central nervous systems adverse effects in the original

analysis did not account for the overall efficacy seen in the trial.” It is my view that my

new, more thorough, analysis completely undermines the claims of treatment efficacy

made in Backonja et al.1




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                21.      I reserve the right to supplement this report if new or

significantly modified quantitative information is provided at any point, or I have the

opportunity to review further reports or published literature.




July 29, 2008                                                    _______________________
                                                                    Nicholas P. Jewell, Ph.D.




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